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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                      )
   In re:                                             ) Chapter 11
                                                      )
   NEIMAN MARCUS GROUP LTD LLC, et al.,               ) Case No. 20-32519 (DRJ)
                                                      )
                         Reorganized Debtors.         ) (Jointly Administered)
                                                      )

                                      NOTICE OF HEARING

       PLEASE TAKE NOTICE that the Court will conduct a hearing on Michael Occhiogrosso, Camilla

Galluzzo and Annette Colarusso’s Motion to Allow Late Filed Proof of Claim Pursuant to Federal Rules

of Bankruptcy Procedure 3003(c)(3) and 9006(b)(1), filed May 14, 2021 (Doc. 2473). The hearing will

be held on October 4, 2021, at 2:30 p.m., before David R. Jones, Unites States Bankruptcy Judge, in Room

400 of the United Stated Bankruptcy Court, 515 Rusk Street Houston, TX 77002.

Electronic Appearances
       Please note that on March 24, 2020, through the entry of General Order 2020-10, the Court invoked

the Protocol for Emergency Public Health or Safety Conditions. The Order may be found at:

https://www.txs.uscourts.gov/sites/txs/files/Bankruptcy%20General%20Order%202020-04%

20Adoption%20of%20Contingency%20Plan_0.pdf.

       Therefore, all persons will appear telephonically and also may appear via video at this hearing

using the Court’s electronic conference systems.

       The Court will simultaneously use two technology methods to conduct electronic hearings. One

method Will provide audio communication. The other will provide video access to exhibits and materials

presented to the Court. If a party wants to both view the documents presented to the Court and hear the
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proceeding, the party must 1) dial in through the audio system, and 2) log into the Court’s video via

GoToMeeting application.

       Hearing appearances should be made electronically and in advance of the hearing.

You may make your electronic appearance by:

    1) Going to the Southern District of Texas website;
    2) Selecting “Bankruptcy Court” from the top menu;
    3) Selecting “Judges’ Procedures and Schedules;”
    4) Selecting “View Home Page” for Judge David R. Jones;
    5) Under “Electronic Appearance” select “Click here to submit electronic appearance;”
    6) Select Neiman Marcus Group LTD LLC, et al, from the list of electronic appearance links, and
    7) After selecting Neiman Marcus Group LTD LLC., et al. from the list, complete the required
       fields and hit the “Submit” button at the bottom of the page.

       Submitting your appearance electronically in advance of the hearing will negate the need to

make an appearance on the record at the hearing.

   Audio Communication

          Audio communication will conducted by use of the Court’s regular dial-in number:

   +1 (832) 917-1510. At the start of the call, the caller will be asked to enter a six-digit conference

   code. The six-digit conference code for this hearing is Judge Jones conference room number:

   205691. Each caller shall be responsible for its own long-distance charges.

          Parties are encouraged to review the Court’s procedures for telephonic appearances located

   at https://www.txs.uscourts.gov/sites/txs/files/Court%20Procedures%20-%202-1-2020.pdf.

          Attorneys, witnesses, and parties-in-interest wishing to participate in the hearing must

   connect to each hearing by audio communication. Any person who wishes to attend the hearing

   may also dial in to the audio conference dial-in number.

          Each person who speaks at the electronic hearing should be prepared to restate that person’s

   name each time that the person speaks in order to assist any transcriber of the audio recording.




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Video Communication:

        Parties may participate in electronic hearings by use of an internet connection. You may

view video via GoToMeeting. To use GoToMeeting, the Court recommends that you download

the free GoToMeeting application. To connect, you should enter the meeting code “JudgeJones”

in the GoToMeeting app or click the link on Judge Jones’s home page on the Southern District of

Texas website. Once connected, click the settings icon in the upper right corner and enter your

name under the personal information setting.

        If any party wishes to offer exhibits, it is recommended that these exhibits be filed on

CM/ECF. Each exhibit should be filed as a separate attachment to an Exhibit List in compliance

with BLR 9013-2.

        Witnesses presented by the Reorganized Debtors will appear via audio and video

connection. Any person wishing to examine the witness will be permitted to do so during the

hearing.

        All documents filed in these chapter 11 cases are available free of charge by visiting

https://cases.stretto.com/nmg, by calling 877-670-2127 (toll-free) or 949-504-4475 (international),

or by email at NMGInquiries@stretto.com. Copies of any pleadings may be obtained by visiting

the Court’s website at https://ecf.txsb.uscourts.gov in accordance with the procedures and fees set

forth therein.

        Dated: August 30, 2021




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                                                 Respectfully submitted,

                                                 THE CLANCY LAW FIRM, P.C.

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                                                    Counsel for Movants Michael Occhiogrosso,
                                                    Camilla Galluzzo and Annette Colarusso


                                     Certificate of Service

        I certify that on August 30, 2021, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.


                                                         /s/ H. Miles Cohn
                                                           H. Miles Cohn




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